                             Case 22-14066      Doc 13    Filed 08/25/22       Page 1 of 1
Entered: August 25th, 2022
Signed: August 24th, 2022

SO ORDERED
To and including September 1, 2022.




                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF MARYLAND
                                            at Baltimore
                                   In re:   Case No.: 22−14066 − DER      Chapter: 13

Richard Anthony Costanza
Debtor

                NOTICE AND ORDER EXTENDING TIME TO FILE
               STATEMENT OF FINANCIAL AFFAIRS, SCHEDULES,
                        AND/OR CHAPTER 13 PLAN,
              STATEMENT OF CURRENT MONTHLY INCOME AND
        CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
                            (for individual debtor)

The Debtor's motion to extend the filing date having been considered, it is, by the United States Bankruptcy Court for
the District of Maryland,

ORDERED, that the time within which the Debtor shall file the Statement of Financial Affairs, Schedules, and
Chapter 13 Plan, Statement of Current Monthly Income and Calculation of Commitment Period and
Disposable Income is extended to the date designated above; and it is further

ORDERED, that when filing the above documents, the Debtor shall (1) certify service on all creditors of the Chapter
13 Plan and (2) certify service on the Chapter 13 Trustee of a copy of the above documents; and

DEBTOR IS HEREBY NOTIFIED that failure to complete the required filings within the extended time allowed by
this Order may result in dismissal of this case.


cc:    Debtor
       Attorney for Debtor − PRO SE
       Case Trustee − Brian A. Tucci

                                                   End of Order
22x03 (rev. 03/28/2016) − JosephChandler
